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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

ANTONIO D. WOODLEY,
         Movant,
                                           Case No. CV413-167
v.                                                   CR408-315

UNITED STATES OF AMERICA,
         Respondent.

                                  ORDER
      Let a copy of this Report and Recommendation be served upon movant
and counsel for respondent. Any objections to this Report and
Recommendation must be filed with the Clerk of Court not later than
November 11, 2013. The Clerk shall submit this Report and Recommendation
together with any objections to the Honorable William T. Moore, Jr., United
States District Judge, on November 12, 2013. Failure to file an objection
within the specified time means that this Report and Recommendation may
become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d
404 (5th Cir. 1982), and further waives the right to appeal the District Court's
Order. Thomas v. Arn, 474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
      SO ORDERED this 28th day of October, 2013.

                                                   UNITED STATES MAGISTRATE TLTDGE
                                                   SOUTHERN DISTRICT OF GEORGIA
